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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF RHODE ISLAND

   In re:

   Steven DePasquale                                              Bk: 19-10189
                                                                  CHAPTER 7

                  EMERGENCY MOTION FOR EXPEDITED HEARING

            Richard J. Land, Esq., in his capacity as Receiver (“Receiver”) of Iron Construction

   Group, LLC (“ICG”) hereby moves for an expedited hearing on his pending Emergency

   Motion for Relief From Stay (the “Motion”) and in support of this motion states as follows:

       1. This Court has jurisdiction pursuant to 28 U.C.S. §§157 and 1334 and venue in this

            District is proper pursuant to 28 U.S.C. §1409.

       2. On February 7, 2019 (“Petition Date”) the Debtor filed a voluntary petition for

            relief under Chapter 7 of the United States Bankruptcy Code.

       3. On February 11, 2019, the Receiver was appointed by the Rhode Island Superior

            Court and authorized and directed to take possession of ICG’s assets.

       4. The Motion is critical because the Receiver is without possession of a vehicle

            registered in the name of ICG that is presently (i) in possession of Debtor, and (ii)

            exposing the truck and the Receivership Estate to potential harm by being operated

            on public roads for non-business reasons and without the Receiver’s consent.

            Moreover, the Debtor has refused to return the vehicle and has not demonstrated it

            is insured. Therefore, an emergency hearing is necessary to avoid potential

            irreparable harm to the truck and to the Receivership Estate.

       WHEREFORE, in light of the foregoing, the Receiver requests that the Court grant his

   Emergency Motion for Expedited Hearing and conduct an expedited hearing on the
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   Receiver’s Motion for Relief from Stay. The Receiver further requests that the Court

   approve the notice given as provided within the accompanying certificate of service as

   sufficient notice of the hearing under the emergency circumstances.


                                              /s/ Richard J. Land
                                              Richard J. Land, In His Capacity As
                                              Receiver Of Iron Construction Group, LLC
                                              Chace Ruttenberg & Freedman, LLP
                                              One Park Row, Suite 300
                                              Providence, RI 02903
                                              Tel.: (401) 453-6400
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                                              Dated: June 24, 2019




                                          NOTICE

   PURSUANT TO RI L.B.R 9013-2(d)(2), THE RESPONSE/OBJECTION TIME TO
   THIS EMERGENCY MOTION WILL BE ESTABLISHED BY THE COURT.

                               CERTIFICATE OF SERVICE

         I hereby certify that on June 24, 2019, I caused to be electronically filed this
   document with the Clerk of the Bankruptcy Court for the District of Rhode Island using
   the CM/ECF System; and that I caused to be served notice electronically to the following:

   Gary L. Donahue, Esq.                Gary.L.Donahue@usdoj.gov

   Peter J. Furness, Esq.               peter@rhf-lawri.com

   Stacy B. Ferarra, Esq.               sferrara@ndgrb.com

                                                                         /s/ Richard J. Land
